     Case 2:10-md-02179-CJB-DPC Document 215-2 Filed 09/13/10 Page 1 of 2




                                   UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF LOUISIANA


In re: Oil Spill by the Oil Rig                     *             MDL No. 2179
       “Deepwater Horizon” in the Gulf              *
       of Mexico, on April 20, 2010                 *             SECTION: J
                                                    *
         Applies to: All Cases.                     *             JUDGE BARBIER
                                                    *             MAGISTRATE SHUSHAN
*    *    *   *     *    *     *     *   *   *    * *

                                          PROPOSED AGENDA
                                             Status Conference
                                             September 16, 2010


1.       CMO No. 1

         a.       Pleading Bundles

         b.       Time for Filing of Pleadings and Responses

         c.       Limitation Monition Date

         d.       Initial Disclosures

         e.       Scope of Phase I Discovery

         f.       Timing of Phase I Discovery

         g.       Pre-Trial and Trial Settings for Limitation Trial

         h.       Test Cases
     Case 2:10-md-02179-CJB-DPC Document 215-2 Filed 09/13/10 Page 2 of 2




2.     Status of Filing and Service Issues - Lexis / Nexis, etc.

3.     Status of Discussions regarding Direct Filing

4.     Status of Discussions regarding Protective Order, Document and E-Discovery Protocols,
       and Deposition Protocol

5.     Time and Expense Reporting and Accounting

6.     Status of BOP Inspection and Testing

7.     Status of Third-Party Discovery




                                                                                     Page 2
